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  August 24, 2023


  Christopher M. Wolpert, Clerk
  U.S. Court of Appeals for the Tenth Circuit
  Byron White United States Courthouse
  1823 Stout Street
  Denver, CO 80257

  Re:    Coates, et al. v. Reigenborn, Nos. 22-1339 & 22-1434

  Dear Mr. Wolpert:

  Pursuant to Rule 28(j), I write to inform the Court of two pertinent decisions, Milligan-Hitt v.
  Bd. of Trs. of Sheridan Cty. Sch. Dist. No. 2, 523 F.3d 1219 (10th Cir. 2008), and Thompson
  v. Duke, 882 F.2d 1180 (7th Cir. 1988).

  In Milligan-Hitt, the Court applied the Supreme Court’s plurality opinion in City of St. Louis
  v. Praprotnik, 485 U.S. 112 (1988) and its subsequent decision in Jett v. Dallas Indep. Sch.
  Dist., 491 U.S. 701 (1989), which were addressed in the Sheriff’s answer brief (pp. 14-15.) In
  a case involving a school board’s decision not to hire certain administrators, this Court
  emphasized the legal nature of the inquiry as to who exercises final policymaking authority.
  523 F.3d at 1227-27. The Court affirmed “the logic of Monell” is that “municipalities are
  responsible only for their own misdeeds[.]” Id. at 1225. The Court stated: “[b]y ensuring that
  liability follows legal authority, Jett provides incentives for cities to give final authority only
  to responsible officials.” Id. (emphasis in original)

  As argued by Sheriff Reigenborn, Adams County through its Board did not give any legal
  authority to the Sheriff. The Sheriff received his legal authority from the State of Colorado
  and the electorate. (Op. Br. at 27-29.) That distinction was relied upon by the Seventh Circuit
  in Thompson. There, in a Section 1983 suit based on an assault against an inmate at a county
  jail, the Seventh Circuit held:

         The problem with [the plaintiff’s arguments] is that Cook County itself has no
         authority to train the employees involved or to set the policies under which
         they operate. The Cook County Jail, and the Cook County Department of
         Corrections, are solely under the supervision and control of the Sheriff of Cook
         County. The Sheriff is an independently-elected constitutional officer who
         answers only to the electorate, not to the Cook County Board of
         Commissioners. Consequently, Thompson cannot maintain a section 1983
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         action against Cook County for “practices, policies, or actions” which are
         unrelated to that entity.

  882 F.2d at 1187 (citations omitted). The Court, therefore, affirmed summary judgment in
  favor of the County.

  Respectfully submitted,

  s/Michael A. Sink
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                                    Certificate of Compliance

         I hereby certify that the body of this letter contains 349 words and therefore complies
  with the type-volume limitations stated in Fed. R. App. P. 28(j).



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